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                                                     April 11, 2024

    Via PACER/ECF

    The Honorable Rukhsanah L. Singh, U.S.M.J.
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Courtroom 7W
    Trenton, New Jersey

             Re:        In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
                        and Product Liability Litig., Case No. 3:16-md-2738 (MAS)/(RLS)

    Dear Judge Singh:

            This Firm represents Beasley Allen and Andy D. Birchfield, Jr., Esq. (together Beasley
    Allen) in J&J’s Motion to Disqualify Beasley Allen (the Motion) pending before the Court. See
    ECF No. 28760. As Your Honor may recall, the Motion plenary hearings before Your Honor and
    Judge Porto proceeded March 25, 2024 and yesterday April 10, 2024.

            At the hearing, Your Honor permitted the undersigned to mark for identification as P-3 and
    P-4 the February 2, 2023 correspondence from Mr. Conlan to Johnson & Johnson and the
    mediators’ Federal Rule of Civil Procedure 31 certified written deposition responses and
    transcripts respectively. Beasley Allen encloses both exhibits for the record.

             Thank you for your time and continued consideration of this matter.
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    The Honorable Rukhsanah L. Singh, U.S.M.J.
    April 11, 2024
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                                                          Respectfully submitted,

                                                           /s/ Jeffrey M. Pollock

                                                          JEFFREY M. POLLOCK

    cc: All Counsel (via ECF)
        The Honorable John C. Porto, P.J. Civ. (via eCourts)
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